Case 4:09-CV-00273-RH-WCS Document 59 Filed 06/14/10 Page 1 of 4

UNITED STATES DISTRICT C()URT
FOR THE N()RTHERN DISTRICT OF FLORIDA

TALLAHASSEE ])IVISION

-DUNCAN MOORE,- )
)

Plaintiff/Counter Defendant, )

)

)

vS. )
)

TALLAHASSEE MEMORIAL HEALTI-ICARE, )
INC., a Florida non-profit corporation, )
)

Defendant/Counter Plaintiff. )

/

 

PLAINTIFF'S TRIAL EXHIBIT LIST

Case NO.: 4:09-CV-273-RH/WCS

 

 

 

 

 

 

 

 

 

 

 

 

 

Exhibit Bates Number Description Date of Docurnent

Number

1 EM 00()243 - 000244 Exhibit A to E. Moore 7/11/01
Depc)sition

2 EM 00()248 - 000249 Conf`ldential 5/2/01
Memorandum to
Duncan Moore from
Ed Moore

3 EM 000247 Exhibit B to E. Moore 6/25/01
Deposition

4 EM 000083 Exhibit C to E. Moore 5/7/03
Deposition

5. EM 000085 Exhibit D to E. Moore 5/20/03
Deposition

6 EM 000084 Exhibit E to E. Moore
Deposition

7 EM 000048 - 000054 Exhibit F to E. Moore 1/14/04
Deposition

8 TMH 000165 Exhibit G to E. Moore 2/24/04
Deposition

9 Exhibit H to E. Moore 2/24/04
Deposition

10 TMH 000024 - 000028 Exhibit I to E. Moore 7/21/04
Deposition

11 TMH 000022 - 000023 Exhibit J to E. Moore 7/21/04

 

 

Deposition

 

 

 

Case 4:09-CV-00273-RH-WCS Document 59 Filed 06/14/10 Page 2 of 4

 

12

TMH 000131-000132

Exhibit K to E. Moore
Deposition

7/21/04

 

13

TMH 000139 - 000]40
TMH 000133 - 000138

Exhibit K to E. Moore
Deposition

Exhibit A -
Memorandum of
Understanding

Settlement
Agreement, Waiver Of
SERP Beneflts and
Release of All Claims

7/21/04
8/11/04 and 8/12/04

 

14

TMH 000145
TMH 000141- 000144

Exhibit K to E. Moore
Deposition

Exhibit A -
Memorandum of
Understanding

Settlement
Agreement, Waiver of
SERP Beneflts and
Limited Release of
Claims

7/20/04
8/11/04 and 8/19/04

 

15

TMH 000124

Exhibit N to E. Moore
Deposition

Minutes of Executive
Session of the
Executive Commit“tee
Of the Board of
Directors of
Tallahassee Mernorial
Healthcare, Inc. Held
on August 11, 2004

8/11/04

 

 

16

 

TMH 000123

 

Exhibit N to E. Moore
Deposition

Minutes Of Executive
Session of the Board
of Directors of
Tallahassee Memorial
Healthcare, Inc. Held
On October 20, 2004

 

10/20/04

 

 

Case 4:09-CV-00273-RH-WCS Document 59 Filed 06/14/10 Page 3 of 4

 

17

TMH 000122

Exhibit N to E. Mo_ore
Deposition

Minutes cf Executive
Session of the
Executive Committee
of the Board of
Directors of
Ta]lahassee Memorial
Healthcare, Inc. Held
on March 9, 2005

3/9/05

 

18

TMH 000121

Exhibit N to E. Moore
Deposition

Tallahassee Memorial
Healthcare, Inc. Bc)ard
of Directors Executive
Session Of the
Executive Cornmittee
Ju1y13, 2005

7/13/05

 

19

TMH 000120

Exhibit N to E. Moore
Deposition

10/12/05

 

20

EM 000140

Exhibit 0 to E. Moore
Deposition

 

21

TMH 000146-000148

Exhibit P to E. Moore
Deposition

8/26/04
8/11/04

 

22

TMH 000285

Exhibit A to Guidice
Deposition

11/28/00

 

23

TMH 000141 --_ 000145

Exhibit B to Guidice
Deposition

8/11/04

 

24

JT 000001

Exhibit C to Guidice
Deposition

 

25

TMH 000146 - 000148

Exhibit E to Guidice
Deposition

8/26/04
8/11/04

 

26

JT.000013

Exhibit F to Guidice
Deposition

 

27

EM 000063

Exhibit H to Guidice
Deposition

11/17/03

 

28

TMH 000236 - 000238

Exhibit 1 to Guidice
Deposition

10/15/03

 

29

EM 000091 - 000093

Exhibit J to Guidice
Deposition

5/10/04

 

 

30

 

EM 000141

 

Exhibit K to Guidice
Deposition

 

 

 

Case 4:09-CV-00273-RH-WCS Document 59 Filed 06/14/10 Page 4 of 4

 

 

31

EM 000090

 

 

Exhibit L to Guidioe 6/29/06
Deposition

 

 

S/ Paul E. Parrish

PAUL E. PARRISH
paul.parrish@quarles.oom
Fla. Bar No. 373117
QUARLES & BRADY LLP
101 E. Kennedy Blvd.

Suite 3400

Tampa, FL 33602-5195
Phone: 813-3 87-0300

Fax: 813-387-1800
Attorneys for Plaintiff/Counter Defendant

CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that on the 14th day of June, 2010, 1 eleotronically filed the

foregoing by using the CM/ECF Systern Which Wil1 Send a notice of electronic filing to Kenneth

R. Hart, Esquire, Ausley & McMullen, 227 South Calhoun Street, Tallahassee, FL 32301 and S.

Jonathan Vine, Esquire and Rachel Beige, Esq., Cole Scott 7 Kissane, P.A., 1645 Palm Beach

Lak_es Blvd., 2nd Floor, West Palm Beach, FL 33401.

QB\10586247.1

s/ Paul E. Parrish
Attorney

 

 

